                                             MANDATE

THE STATE OF TEXAS

TO THE COUNTY COURT OF MAVERICK COUNTY, GREETINGS:

Before our Court of Appeals for the Fourth District of Texas on March 18, 2015, the cause upon appeal to
revise or reverse your judgment between

Andrés Ramos Jr., Appellant

V.

Gigi Castaneda, Appellee

No. 04-14-00721-CV and Tr. Ct. No. 3220

was determined, and therein our said Court of Appeals made its order in these words:


     In accordance with this court’s opinion of this date, this appeal is
DISMISSED FOR WANT OF PROSECUTION. Costs of this appeal are taxed
against Appellant Andrés Ramos Jr.
WHEREFORE, WE COMMAND YOU to observe the order of our said Court of Appeals for the Fourth
District of Texas, in this behalf and in all things have the order duly recognized, obeyed, and executed.

WITNESS the Hon. Sandee Bryan Marion, Chief Justice of the Court of Appeals for the Fourth District of
Texas, with the seal of the Court affixed and the City of San Antonio on June 10, 2015.

                                                           KEITH E. HOTTLE, CLERK




                                                           Cynthia A. Martinez
                                                           Deputy Clerk, Ext. 53853
                                            BILL OF COSTS

        TEXAS COURT OF APPEALS, FOURTH DISTRICT, AT SAN ANTONIO

                                        No. 04-14-00721-CV

                                            Andrés Ramos Jr.

                                                    v.

                                             Gigi Castaneda

                     (NO. 3220 IN COUNTY COURT OF MAVERICK COUNTY)


TYPE OF FEE                  CHARGES         PAID          BY
CLERK'S RECORD                     $59.00    PAID          ANDRES RAMOS
INDIGENT                           $25.00    PAID          ANDRES RAMOS
STATEWIDE EFILING FEE              $20.00    PAID          ANDRES RAMOS
SUPREME COURT CHAPTER 51
FEE                                $50.00    PAID          ANDRES RAMOS
FILING                            $100.00    PAID          ANDRES RAMOS


       Balance of costs owing to the Fourth Court of Appeals, San Antonio, Texas: 0.00


       Court costs in this cause shall be paid as per the Judgment issued by this Court.


     I, KEITH E. HOTTLE, CLERK OF THE FOURTH COURT OF APPEALS OF THE STATE OF
TEXAS, do hereby certify that the above and foregoing is a true and correct copy of the cost bill of
THE COURT OF APPEALS FOR THE FOURTH DISTRICT OF TEXAS, showing the charges and
payments, in the above numbered and styled cause, as the same appears of record in this office.

      IN TESTIMONY WHEREOF, witness my hand and the Seal of the COURT OF APPEALS for
the Fourth District of Texas, this June 10, 2015.

                                                         KEITH E. HOTTLE, CLERK



                                                         Cynthia A. Martinez
                                                         Deputy Clerk, Ext. 53853
